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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

     THE TRANSPARENCY PROJECT,


                  Plaintiff,                             CIVIL ACTION No. 4:20CV467

                                                         JUDGE SEAN D. JORDAN
                  v.

     U.S. DEPARTMENT OF JUSTICE, et al.,


                  Defendants.


                   NON-FBI DEFENDANTS’ OPPOSITION TO
           PLAINTIFF’S “CROSS-MOTION FOR SUMMARY JUDGMENT”

         Defendants the United States Department of Justice (“DOJ”) 1, the National

 Security Agency (“NSA”), the Central Intelligence Agency (“CIA”), and the Office of

 the Director of National Intelligence (“ODNI”), file this opposition to Plaintiff’s “Cross-

 Motion for Summary Judgment.” [ECF 59]. 2 While Plaintiff’s filing purports to be a

 “Cross-Motion for Summary Judgment,” he does not actually move for summary

 judgment but rather just provides conclusory arguments in response to the arguments



 1
   The DOJ components in this case include the National Security Division (“NSD”); the Criminal
 Division (“CRM”); the Executive Office of United States Attorneys (“EOUSA”); and the Office
 of Information Policy (“OIP”) on behalf of the Offices of the Attorney General (“OAG”) and the
 Office of Legislative Affairs (“OLA”).
 2
   The Non-FBI Defendants do not want to burden the Court with a reply to Plaintiff’s Opposition
 to the Non-FBI Defendants’ Motion for Summary Judgment when one is not necessary here, as
 Plaintiff’s opposition is admittedly poorly briefed and conclusory. However, the Non-FBI
 Defendants would be happy to address particular issues if further briefing is requested by the
 Court.


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 raised in Non-FBI Defendants’ Motion for Summary Judgment. Therefore, the Court

 should summarily deny Plaintiff’s “cross-motion” and grant Non-FBI Defendants’

 Motion for Summary Judgment for all the reasons set forth in their motion. [ECF 51].

                                                   Respectfully submitted,

                                                   BRIT FEATHERSTON
                                                   UNITED STATES ATTORNEY

                                                   /s/ Andrea L. Parker
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 2, 2022, a true and correct copy of the foregoing

 document was filed electronically with the court and has been sent to counsel of record

 via the court’s electronic filing system.



                                                   /s/ Andrea L. Parker
                                                   ANDREA L. PARKER
                                                   Assistant United States Attorney




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